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                                                                     Exhibit B
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ Districtof
                                                                           ofIllinois
                                                                              __________
                        ARIEL ROMAN,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 20 CV 1717
                CITY OF CHICAGO, ET AL.,
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                  WILLIAM HARMENING
To:                                                               C/O JULIAN JOHNSON
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
               SEE ATTACHED RIDER



 Place:                                                                                 Date and Time:
          BORKAN & SCAHILL, LTD.
          20 S. Clark Street, Suite 1700, Chicago, IL 60603                                                 10/19/2022 10:00 am

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/05/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                               /s/ Whitney N. Hutchinson
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendant, Bogard
                                                                        , who issues or requests this subpoena, are:
Whitney N. Hutchinson, Borkan & Scahill, Ltd., 20 S. Clark., #1700, Chicago, IL 60603, whutchinson@borkanscahill.com
312-580-1030
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 20 CV 1717

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:
            via email: julianjohnsonlaw.com
                                                                                           on (date)            10/05/2022             ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:             10/05/2022                                                                       /s/ Elena Favela
                                                                                                   Server’s signature

                                                                                          Elena Favela, Legal Assistant
                                                                                                 Printed name and title


                                                                                      20 South Clark, Chicago, IL 60603


                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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         RIDER TO SUBPOENA DUCES TECUM TO WILLIAM HARMENING


                                   Definitions and Instructions
1.      The term “Document” shall have the broadest possible meaning under the Federal Rules
of Civil Procedure and shall include any handwritten, typed, photographed, computerized, audio,
video, or other graphic matter, regardless of how it is printed, stored or reproduced, in the
possession and/or control of Defendant or known by Defendant to exist, whether or not claimed to
be privileged or otherwise excludable from discovery. Any document with any marks or notations,
including but limited to: initials; routing instructions; date stamps; and any comment, marking or
notation of any character, is to be considered a separate document.
2.      If there are no Documents in your possession, custody or control that are responsive to a
particular request, please so state and identify such request.
3.     If any Documents responsive to this request are known by you to exist but are not in your
possession, custody or control, identify those Document(s) and the Person who has possession,
custody or control thereof.
4.       “Identify” with respect to a Person, shall mean to provide that Person’s name, address and
telephone number; with respect to a Document, “identify” shall mean to provide the date of the
document, the author of the Document, the subject matter of the Document and, where applicable,
all recipients of the Document; with respect to a Communication, “identify” shall mean to identify
the Person making the Communication, to provide the date and subject matter of the
Communication and to identify all Persons receiving the Communication.
5.     “Relate,” “relating to,” or “regarding” shall mean directly or indirectly mentioning or
describing, pertaining to, being connected with, reflecting upon, or having any logical or factual
connection with a stated subject matter.
6.     “Communication” means the exchange of information between two or more Persons,
whether orally, in writing, or by any other means. This includes but is not limited to letters, memos,
e-mails, notes, correspondence, recording, or the like.
7.      “Person” shall refer to any individual, corporation, partnership, organization, or other legal
entity.

8.      “And” and “or” mean “and/or” so that the terms are given their broadest possible meaning.
In construing a request, the singular shall include the plural and the plural shall include singular,
and use of a masculine, feminine or neuter pronoun shall not exclude any of the others. The past
tense includes the present and the present tense includes the past, where the clear meaning is not
destroyed by the change.
9.      If any Document is withheld under claim of privilege, please list, rather than produce, any
such document with respect to which you claim a privilege, identifying the source and nature of
the privilege.




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                                       Documents Requested

        1.      Any and all documents and materials prepared by you in forming your opinions in
this case, including but not limited to notes, recordings, test results, summaries, memoranda,
transcripts and draft reports.

       2.       A stated estimate of revenue earned from any and all legal expert work conducted
by you over the past four years, broken down by the person or entity who retained you. This request
includes any revenue generated by you from providing expert testimony or reports in civil or
criminal litigation, as well as any legal expert consulting conducted by you in this time period.

        3.    All documents and communications in your possession, custody, or control relating
to Ariel Roman’s civil litigation and/or to the criminal prosecution of Bogard.

       4.       All documents provided to you or obtained by you that you relied upon for your
opinions in this case.

      5.     Your reports from any cases in which you have been retained as an expert by
Gregory E. Kulis & Associates, Ltd., Action Injury Law Group, The Gloria Law Group, or Julian
Johnson, LLC in the past ten years.
       6.      All documents provided to you or obtained by you that you do not rely upon for
your opinions in this case.

       7.       Copies of any report(s) disclosed by you in any case pertaining to the subject matter
of your report in this case.

        8.    All correspondence and documents pertaining to your retention, billing, invoicing,
or the payment of money exchanged between you and Gregory E. Kulis & Associates, Ltd., Action
Injury Law Group, The Gloria Law Group, or Julian Johnson, LLC.

        9.     Copies of all documents relevant to your report in this case that you reviewed prior
to issuing your report in this case.

        10.     Copies of any communication between you and any third-party witness or party to
this case.

        11.     Copies of any publications, articles, texts and other writings relied on or referenced
in your report disclosed in this case.

       12.    Copies of documents relating to complaints made against you, or discipline or
sanctions imposed upon you, at any time in your professional career.

        13.      Copies of all presentations, lectures or talks that you have given in the past ten years
that relate to the subject matter of your report in this case.




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14.      Any video or images created by, or modified by you relating to Ariel Roman’s civil
litigation and/or to the criminal prosecution of Bogard.




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